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1      ROGER T. NUTTALL #42500
        NUTTALL & COLEMAN
2               2333 MERCED STREET
                  FRESNO, CA 93721
3               PHONE (559) 233-2900
                  FAX (559) 485-3852
4

5    Attorneys for Defendant, LUIS TEJEDA-HURTADO

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8                                 UNITED STATES DISTRICT COURT

9                                EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                 No. 14-cr-0103-LJO-SKO
11                      Plaintiff,                     STIPULATION TO CONTINUE
                                                   SENTENCING HEARING AND BRIEFING
12         v.                                            SCHEDULE AND ORDER
13   LUIS TEJEDA-HURTADO, et al.,
14                      Defendant.
15

16         IT IS HEREBY STIPULATED by and between the parties hereto

17   that the Sentencing Hearing currently scheduled for October 17,

18   2015, at 8:30 a.m. be continued to November 21, 2016, at 8:30

19   a.m. before the Honorable Lawrence J. O’Neill.

20         IT IS ALSO STIPULATED by and between the parties herein,

21   that the briefing schedule shall be as follows:

22         Informal objections shall become due on October 24, 2016.

23         Formal objections shall become due on November 7, 2016.

24         The need for a continuance is based upon defense counsel's

25   need for additional time in which to conduct sentencing related

26   investigation prior to being able to accomplish the probation

27   interview, and thereafter, to be able to prepare a complete

28   Sentencing Memorandum.


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           In addition, defense counsel has been recently required to
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     be away from the office for a considerable amount of time as
3
     related to personal matters.       Further, defense counsel has been
4
     handling other cases which has also precluded defense counsel
5
     from being able to conduct the case-related work expeditiously.
6
           This request is pursuant to an understanding between defense
7
     counsel and Assistant U.S. Attorney Kathleen Servatius.
8
           Under the circumstances set forth herein, it is respectfully
9    suggested that good cause does exist for a continuance to the
10   hereinabove-noted date.
11         IT IS SO STIPULATED.
12         Dated:   August 30, 2016.          Respectfully submitted,
13                                            NUTTALL & COLEMAN
14

15                                            By /s/ ROGER T. NUTTALL
                                                   ROGER T. NUTTALL
16                                                 Attorneys for Defendant,
                                                   LUIS TEJEDA-HURTADO
17

18         Dated:   August 30, 2016.          PHILLIP A. TALBERT
                                              Acting United States Attorney
19

20
                                              By /s/ KATHLEEN SERVATIUS
21                                                 KATHLEEN SERVATIUS
                                                   Assistant U.S. Attorney
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23

24                                      ORDER
25         Good cause appearing therefor,
26         The Sentencing Hearing currently scheduled on October 17,
27   2016, at 8:30 a.m., is continued to
28   ///

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1
     November 21, 2016, at 8:30 a.m., and the above-noted briefing
2
     schedule be followed.
3

4    IT IS SO ORDERED.

5       Dated:   August 31, 2016               /s/ Lawrence J. O’Neill _____
6                                       UNITED STATES CHIEF DISTRICT JUDGE

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